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                                                                                               HONORABLE TANA LIN
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      7                                          IJNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF WASHINGTON
      8
                                                           AT SEATTLE
     9

 l0               BUNGIE, INC ., a Delaw         are corporation,       Case No . 2:21 -cv-1 I I   1   -TL
                               Plaintiff,
 11                                                                     DECLARATION OF JAMES BARKER IN
                 V.                                                     SUPPORT OF PLAINTIFF'S EX PARTE
 12
                                                                       MOTION TO FILE UNDER SEAL
                 KtiNAL BANSAL,             an individual,   d,bh
 13
                 LAVICHEATS.COM,
                                                                       NOTE ON MOTION CALENDAR:
 14                            Defendant.                              Febru ary 17 , 2A23

 15

 16                   I, James Barker, declare and state as follows:

 17                    l   ' I am the Deputy General counsel of Plaintiff Bungie, Inc.
                                                                                        I am over lg years of
 18           age' This Declaration is based upon personal knowledge
                                                                        and review of corporate documents and
19            information and if called as a witness, I could and would
                                                                        testify competently thereto.
20                    2'            I have supervised Bungie's litigation against anti-cheat circumvention
                                                                                                           software
21            since 2020' I have attended every deposition, interview,
                                                                       or other proceeding involving Bungie
22            and traffickers in circumvention technology, and have
                                                                    become familiar with Bungie,s game
23            security measures' the features common to circumvention products,
                                                                                and the features at issue in
24            the present case against Defendant Kunal Bansal. I am also
                                                                         familiar with Bungie,s business
2s            model, the initiatives the company is engaged in, and the Destiny2
                                                                                 software at a high level,
26            including its "anti-cheat,, measures.

27                    3'           I have personally reviewed Bungie's Motion for Default Judgment
                                                                                                   against Bansal,

               DECLARATION OF'JAMES BARKER                                                                   focal    pLLc
                                                                                                        900 lstAve. S., Suite 201
               (Case No. 2:21-cv-l I I l-TL) I
                                            -                                                          Seattle, Washington 98134
                                                                                                       telephone (206) SZ9-4BZT
                                                                                                           fax (206) 260-3960
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          I    along with my own declaration in support
                                                         of that motion, which contains non-public information
      2        about Bungie's game security and anticircumvention
                                                                    features and specific non-public details of
      3        how the cheat software sord by Bansar
                                                     interacted with, and infringed upon, Bungie's
                                                                                                    Destiny 2
      4        video game.

      5               4'      Public disclosure of this information
                                                                     would likely cause Bungie immediate and
      6        irreparable harm by exposing Bungie's
                                                        trade secrets and proprietary security and
      7       anticircumvention technology to cheat manufacturers,
                                                                      providing them with a how-to manual for
      8       attacking Destiny 2 andhatming Bungie. Disclosing
                                                                    such technic al and,proprietary information
     9        to competitors would also harm Bungie.
                                                        As such, Bungie respectfully requests that the court
 10           grant the Motion to Seal the discrete portions
                                                             of my declaration containing that information (as
 1t           specified in the Motion to Seal).

 t2                   I declare under penalty of perjury under the laws
                                                                        of the United States that the foregoing is
 13           true and correct to the best of my knowledge.

 14                  Executed this 17th day of February,2023, dtSeattle,
                                                                         washington.
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              DECLARATION OF' JAMES BARKER                                                    focal     pLLc
                                                                                          900 lstAve. S., Suite 201
              (Case No. 2:21-cv-l I I I -TL) 2
                                            -                                            Seattle, Washington 98134
                                                                                          telephone (200) 529-4A22
                                                                                              fax (206) 260-3966
